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 7                               UNITED STATES DISTRICT COURT
 8                             CENTRAL DISTRICT OF CALIFORNIA
 9                                            WESTERN DIVISION
10 CARPENTERS SOUTHWEST                              No. 2:16-cv-08040-MWF-SK
   ADMINISTRATIVE
11 CORPORATION, a California non-                    [PROPOSED] ORDER RE:
   profit corporation; and BOARD OF                  DEFENDANT HKB, INC.’S MOTION
12 TRUSTEES FOR THE                                  TO DISMISS OR, IN THE
   CARPENTERS SOUTHWEST                              ALTERNATIVE, TO TRANSFER
13 TRUSTS,
                                                     VENUE
14                                   Plaintiffs,
15 v.
                                                     Assigned to Hon. Michael W. Fitzgerald
16 HKB, INC., an Arizona corporation,
     doing business as SOUTHWEST
17 INDUSTRIAL RIGGING; HARRY
     KENT BAKER, an individual;
18 SCOTT WILLIAM MILLER, an
     individual; JAMES DOUGLAS
19 WILSON, an individual,
20
                                     Defendants.
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23            Defendant HKB, Inc.'s Motion to Dismiss Or, In The Alternative, To
24 Transfer Venue, was heard and FOR GOOD CAUSE SHOWN, IT IS ORDERED
25 THAT: Defendant's Motion to Dismiss, Or, In The Alternative, To Transfer
26 Venue, is granted.
27            IT IS SO ORDERED.
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